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 2
 3                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WASHINGTON
 4 UNITED STATES OF AMERICA,
 5                                                    No.       CR-13-2081-WFN
                      Plaintiff,
 6                                                    ORDER
          -vs-
 7
   GERARDO BARRAZA ZAZUETA (1),
 8 a/k/a Joel Rivera,
   MARIA GODINEZ (2),
 9
                      Defendants.
10
11         An evidentiary hearing and pretrial conference was held September 30, 2013.
12   Defendant Barraza Zazueta, who is in custody, was present and represented by Rebecca
13   Pennell; Defendant Godinez, who is not in custody, was present and represented by
14   Richard Smith; Assistant United States Attorney Thomas Hanlon represented the
15   Government.
16         The Court addressed pending pretrial motions. The Government informed the Court
17   that additional discovery had recently been provided to Defendants and based on that
18   discovery, the Government intends to seek a superseding indictment. The Government
19   already provided transcripts of grand jury testimony.         Defendants requested that the
20   Government preserve rough investigator notes, but acknowledged that those notes need not
21   be disclosed at this time. The Government addressed the Defendants' Motions to Sever
22   and indicated that based on the substance of the new discovery that the Government joins
23   the severance motions. The Court severed the cases for trial.
24         The Government presented three witnesses regarding Defendants' Motions to
25   Suppress, Officer Posada, Officer Sanchez, and Agent Walsh. Due to time constraints,
26   Agent Walsh's testimony did not conclude and counsel were unable to make arguments.
27   Mr. Smith indicated that he may present one witness in support of his Motion to Suppress
28   and estimated that an additional hour and a half will be needed to complete the evidentiary



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 1   hearing. The Court has reviewed the file and Defendant's Motions and is fully informed.
 2   This Order is entered to memorialize and supplement the oral rulings of the Court.
 3   Accordingly,
 4         IT IS ORDERED that:
 5         1. Defendant Godinez's Motion to Join in all Pretrial Motions and in All
 6   Memoranda of Authorities Filed by Co-Defendant Absent Election Out, filed on
 7   September 13, 2013, ECF No. 63, is DENIED AS MOOT. Defendants are already
 8   joined in their pretrial motions unless they elect to opt out or the subject matter of
 9   co-Defendant's does not pertain to them.
10         2. Defendant's Motion for Discovery, filed September 13, 2013, ECF No. 57, is
11   DENIED AS MOOT.
12         3. Defendant’s Motion for Production of 404(b) and 609 Evidence, filed
13   September 13, 2013, ECF No. 64, is DENIED AS MOOT.
14         4. Defendants' Motion in Limine, filed September 13, 2013, ECF No. 58, is
15   RESERVED and will be addressed at the final pretrial conference.
16         5. Defendant Barraza Zazueta's Motion to Sever Defendants, filed September 13,
17   2013, ECF No. 59, is GRANTED.
18         6. Defendant Godinez’s Motion to Sever, filed September 13, 2013, ECF No. 62,
19   is GRANTED.
20         7. The trial date of October 21, 2013, is STRICKEN and RESET as follows:
21             (a)   October 28, 2013, at 10:00 a.m., in Yakima, Washington for Defendant
22   Barraza Zazueta (1); and
23             (b) November 6, 2013, at 10:00 a.m., in Yakima, Washington for Defendant
24   Godinez (2).
25         8. The new trial dates are within each Defendant's speedy trial time out.
26         9. The final pretrial conference and motion hearing is likewise RESET as follows:
27             (a) October 28, 2013, at 10:00 a.m., in Yakima, Washington for Defendant
28   Barraza Zazueta (1); and


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 1             (b) November 6, 2013, at 10:00 a.m., in Yakima, Washington for Defendant
 2   Godinez (2).
 3         10. Trial briefs, motions in limine, requested voir dire and a set of proposed JOINT
 4   JURY INSTRUCTIONS shall be filed and served on or before October 22, 2013.
 5             Jury instructions should only address issues that are unique to this case and shall
 6   include instructions regarding the elements of each claim, any necessary definitions and a
 7   proposed verdict form. The Joint Proposed Jury Instructions shall include:
 8             (a) The instructions on which the parties agree; and
 9             (b) Copies of instructions that are disputed (i.e., a copy of each party's
10   proposed version of an instruction upon which they do not agree). All jury instructions
11   from the most current edition of the Ninth Circuit Manual of Model Jury Instructions may
12   be proposed by number. The submission of the Joint Proposed Jury Instructions will
13   satisfy the requirements of LR 51.1(c).
14             Each party shall address any objections they have to instructions proposed by
15   any other party in a memorandum. The parties shall identify the specific portion of any
16   proposed instruction to which they object and shall elaborate the basis for the objection.
17   Objections asserting that an instruction sets forth an incorrect statement of law shall
18   describe the legal authority that supports this objection. Failure to file an objection and
19   supporting argument may be construed as consent to the adoption of an instruction
20   proposed by another party.
21         11. The parties are requested to submit courtesy copies of witness and exhibit lists
22   to the Court no later than 12:00 noon the Thursday before trial.
23         12. The evidentiary and motion hearing shall be CONTINUED to October 21,
24   2013, at 1:00 p.m., in Yakima, Washington. Defendants' Motions to Suppress, ECF
25   Nos. 60 and 61, shall be heard at that time.
26         13. Indigent Defendant's requests for issuance of subpoenas and payment of costs
27   and fees for trial witnesses shall be filed no later than ten days before trial, excluding
28   weekends and holidays.


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 1              14. Defendants' Motions to Suppress Statements, filed September 13, 2013, ECF
 2   Nos. 60 and 61, are RESERVED.
 3              15. All time from the filing of Defendants' Motions to Sever on September 13, 2013,
 4   to the date of the hearing on September 30, 2013, is EXCLUDED for speedy trial
 5   calculations pursuant to 18 U.S.C. § 3161(h)(1)(D).
 6              The District Court Executive is directed to file this Order and provide copies to
 7   counsel.
 8              DATED this 3rd day of October, 2013.
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11                                                  s/ Wm. Fremming Nielsen
                                                      WM. FREMMING NIELSEN
12   10-01-13                                  SENIOR UNITED STATES DISTRICT JUDGE
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